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                               UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION


   ELIJAH N. WALKER,
                                                   Case No. 1:23-cv-00745-DII
            Plaintiff,
                                                   Hon. Judge Docket II
   v.

   PHOENIX LAW PC,

            Defendant.



                                       ATTORNEY FEES AND COSTS


  Attorney Fees:


  Date                   Description         Attorney/Staff        Rate         Time    Amount

              Reviewed of documents
              verify potential causes of
              action, researched proper
              Defendant, verified facts
6/29/2023                                      Attorney          $375.00        0.5    $187.50
              to determine if all
              elements of CROA,
              TCSOA and TCDSMA
              are present
6/29/2023     Drafted Complaint                Attorney          $375.00        2.2    $825.00

6/30/2023     Filed Complaint                  File Clerk        $125.00        0.5    $62.50
              Filed request for summons
7/10/2023     and sent to process server       File Clerk        $125.00        0.2    $25.00
              for service
7/17/2023     Filed Executed Summons           File Clerk        $125.00        0.2    $25.00
              Drafted Motion for Entry
8/9/2023                                       Paralegal         $125.00        0.7    $87.50
              of Default
              Reviewed Motion for
8/9/2023                                       Attorney          $375.00        0.3    $112.50
              Entry of Default
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            Filed Motion for Entry of
8/9/2023    Default and mailed to       Paralegal       $125.00         0.5    $62.50
            counsel
            Drafted Motion for
8/31/2023                               Attorney        $375.00         2.1    $787.50
            Default Judgment
                                                                               $2,175.00



  Costs:
  Filing Fee                                                      $   402.00
  Service(R.O.S. Consulting, Inc.)                                $   85.00
  Mailing Cost                                                    $   19.30
  Total Costs:                                                    $   506.30

  Grand Total
  Attorney Fees                                                   $ 2,175.00
  Costs                                                           $ 506.30
  Total                                                           $ 2,681.30
